                 Case 1:21-cv-00892-RP Document 35 Filed 06/05/23 Page 1 of 22




                               United States Court of Appeals
                                    For the Fifth Circuit
     RECEIVED                             ____________
        June 05, 2023
  CLERK, U.S. DISTRICT COURT
                                           No. 23-50090
                                                                               FILED
                                          ____________
  WESTERN DISTRICT OF TEXAS                                                  June 05, 2023
                JMV
BY:_______________________________                                      CLERK, U.S. DISTRICT COURT
                                                                        WESTERN DISTRICT OF TEXAS
                        DEPUTY
                                                                                     JMV
                                                                     BY: ________________________________
                                                                                             DEPUTY




      Kimberly D. Hogan Pro se
      Plaintiff / Appellant
                                      Appeal from the USDC for the Western District of Texas
                                      USDC CASE NUMBER: 1:21-CV-00892-RP



      Aspire Financial, Inc. D/B/A Aspire Lending
      and Council Donald E. Uloth
      Defendants / Appellees




                                       OBJECTION!
        5TH NOTICE WITH ADDITIONAL INDISPUTABLE PROOF OF
           FRAUD COLLUSION AND TREASON BY THE COURT
          MOSTLY VIA WEAPONIZED CORRUPT STASI CLERKS
                       JUDICIAL COMPLAINT
                 CONFLICTS OF INTEREST RECUSAL
              DEMAND FULL PANEL EN BANC HEARING




      1. Plaintiff / Appellant:


                                                                                                  1
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Plaintiff: Kimberly D. Hogan Pro se
900 Discovery Blvd. #13102
Cedar Park, Texas 78613
kdhogan@ymail.com
(303)246-1587


2. Defendants / Appellees:
Defendant: Aspire Financial, Inc. d/b/a Aspire Lending
4100 Alpha Rd. Suite 300
Dallas, Texas 75244
info@aspirelending.com
(877)325-2009




Defendant’s Counsel: Donald E. Uloth

Texas Bar No. 20374200

18208 Preston Rd. Suite D-9 #261

Dallas, Texas 75252

Phone: (855) 952-4645

Fax: (972) 777-6951

Email: don.uloth@uloth.pro



Trial Court Clerk: Dallas County 162nd District Court

Clerk of the Court: Felicia Pitre

600 Commerce Street, Suite 103

Dallas, Texas 75202

(214) 653-7307


                                                                          2
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felicia.pitre@dallascounty.org



Trial Court Coordinator: Dallas 162nd District Court

Court Coordinator: Melinda Thomas

600 Commerce Street, Room 730 B

Dallas, Texas 75202

(214) 653-7348

mthomas@dallascourts.org




Appellate Court Clerk: Dallas 5th Court of Appeals

Clerk of the Court: Lisa Matz

600 Commerce Street, Suite 200

Dallas, Texas, 75202

Phone: (214) 712-3450

Fax: (214) 745-1083

TheClerk@5th.txcourts.gov



Supreme Court of Texas Deputy Clerk:

Deputy Clerk of the Court: Kristen Golby

201 W. 14th Street, Room 104

Austin, Texas 78701

(512) 463-1312

kristen.golby@txcourts.gov


                                                                         3
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Supreme Court of Texas Clerk:

Clerk of the Court: Blake A. Hawthorne

201 W. 14th Street, Room 104

Austin, Texas 78701

(512) 463-1312




U.S. District Judge Robert Pitman

501 West 5th Street, Suite 5300

Austin, Texas 78701

(512) 391-8792




U.S. Magistrate Judge Mark Lane

501 West 5th Street, Suite 7400

Austin, Texas 78701

(512) 916-5896 ext. 8705




Tyler Technologies

5101 Tennyson Parkway

Plano, Texas 75024


                                                                         4
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(972) 713-3700

info@tylertech.com




Newly Added:

United States Fifth Circuit Court of Appeals

Deputy Clerk Lisa E. Ferrara

600 Maestri Place Suite 115

New Orleans, Louisiana 70130

(504) 310-7675




Now Newly Added For More FRAUD Upon And BY THE COURT:

United States Fifth Circuit Court of Appeals

NOWHERE LISTED on the ATTACHED BELOW 5th Circuit’s Contact List:

Mystery “Deputy Clerk” Melissa Shanklin




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                                                                6
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Also in NON-VIRUS SEARCHABLE LINK FORMAT HERE:
https://acrobat.adobe.com/link/review?uri=urn:aaid:scds:US:ae076566-4ebe-488b-bff5-7c2d2cde
887e

600 Maestri Place Suite 115

New Orleans, Louisiana 70130

Main Number: (504) 310-7700




AND John Does and Jane Does 1- 100 Identities Yet to be determined.




ATTENTION: Chief Judge Priscilla Richman, Former Chief Judge Edith Jones, Judge
Jennifer Walker Elrod, Judge James F. Graves Jr., and Judge James Ho,

After waiting Months for a Response to my Appeal and Second Appeal, both Filed on
August 12th, 2022 (well in time before my Statute of Limitation from Final Judgment
Ruling entered July 18th, 2022), I decided to File a 3rd Amended Appeal Filed on
February 3rd 2023 in hopes that one would receive a response, as the saying goes “3rd
time’s a charm”. I Filed my first two Appeals well before the Statute of Limitation
Deadline of August 17th 2022. And, in fact, according to the Rules, I Won by Default
since no one ever responded to me by their Statute of Limitation Deadline of September
11th, 2022. With all that being said, now I want to know which is it? Is it vision
problems, ineptness, Corruption, FRAUD, Collusion or TREASON? I received this
Fraudulent “UNPUBLISHED ORDER” from the Clerk/Deputy Clerk, specifically
Deputy Clerk Lisa Ferrara, stating that my MANY YEARS Long Fought Battle Case is
“DISMISSED for want of Jurisdiction”. She FALSELY claims I missed filing a timely
notice of appeal by August 17th, 2022. She completely did not look at Docket Entries
22, 23, and 24, or Completely Ignored all three Docket Entries that Prove I Filed on


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August 12th, 2022, well before my SOL. Deputy Clerk Ferrara fast forwarded to Docket
Entry 25, my 3rd Amended Appeal Dated January 31st, 2023, completely Ignoring
Docket Entries 22, 23, and 24, and especially Ignoring the fact that no one ever
responded to #24, which means I won by Default. Very Interesting SELECTIVE
VISION Problems it appears Deputy Clerk Ferrara suffers from. She was able to see just
fine Docket Entry #21 the Final Judgment dated July 18th, 2022, and was able to see
Docket Entry #25 my 3rd Amended Appeal just fine. Interesting that the SELECTIVE
VISION doesn’t notice AT ALL there is NO RESPONSE to my Timely Filed Appeal
dated August 12th, 2022, and that I Actually Have Won By Default. ALL THE PROOF
CAN BE SEEN HERE ON THE NON-VIRUS PACER LINK FOR THIS CASE:
https://www.pacermonitor.com/case/42145060/Hogan_v_Aspire_Financial,_Inc_et_al




Here Attached Below is all the Proof to see, YET AGAIN, this time in a new and Higher
Court The Fifth Circuit Court of Appeals, The FRAUD UPON AND BY THE COURT
Continues:




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Proof of FRAUD By The Fifth Circuit Court of Appeals Deputy Clerk Lisa Ferrara:




Also in NON-VIRUS SEARCHABLE LINK FORMAT HERE:
https://acrobat.adobe.com/link/track?uri=urn:aaid:scds:US:aecf9d0e-c161-4dc6-9ae3-cd2
ea2ebfb5f




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Proof of FRAUD Upon and By The Fifth Circuit Court:




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Also in NON-VIRUS SEARCHABLE LINK HERE:
https://acrobat.adobe.com/link/track?uri=urn:aaid:scds:US:9bbe82ba-0290-4ee6-a1de-eb
4a458450cc

PROOF OF SELECTIVE VISION, INEPTNESS, CORRUPTION, OR COLLUSION:




Also in NON-VIRUS SEARCHABLE LINK HERE:

https://acrobat.adobe.com/link/track?uri=urn:aaid:scds:US:bd3d4f16-d4ad-4719-9e3d-83
0329fbb87b




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Proof of Timely Filed August 12th, 2022 2nd Amended Appeal:




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Also in NON-VIRUS SEARCHABLE LINK HERE:
https://acrobat.adobe.com/link/review?uri=urn:aaid:scds:US:b93d124a-8459-4c33-bdde-
4392d30a113c

Which It was NEVER RESPONDED TO, therefore I LEGALLY Won by Default!

NON-VIRUS PACER LINK:
https://www.pacermonitor.com/case/42145060/Hogan_v_Aspire_Financial,_Inc_et_al


I DEMAND THIS CASE BE REOPENED IMMEDIATELY Due To It Being
FRAUDULENTLY Dismissed! The Corruption only continues further with This
Bullcrap Response from Melissa Shanklin SUPPOSED DEPUTY CLERK that the
Courts are not permitted to access digital doc links which is a LIE! See Melissa
Shanklin’s additional FRAUD BY THE COURT HERE:




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Also in NON-VIRUS SEARCHABLE LINK HERE:
https://acrobat.adobe.com/link/track?uri=urn:aaid:scds:US:e9a85c63-c60e-4e5a-8c8a-2c8
f6f4791b4

 All throughout this case and throughout ALL the previous courts, and inserted in
EVERY “ACCEPTED” FILING in ALL the previous courts there have ALWAYS
been Attached Searchable Links! THE COURTS HAVE VIRUS
PROTECTION!

Clearly the FRAUD AND TREASON BY THE COURT is Rampant and
Systemic at the 5th Circuit, with most of it being run on behalf of the highly
Corrupt TREASONOUS Stasi Clerks actions!

Here is the most recent FRAUD BY THE COURT/CLERKS Ruling I received
from Deputy Clerk Casey A. Sullivan, dated May 10th 2023:




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I Firmly suspect and believe Judge Elroy, Judge Graves, and Judge Ho have Not
even had the chance to see Anything to do with my Case, due to TREASONOUS
Free Range Stasi Clerks Responding with their FRAUDULENT Rulings well
before the Judges have any knowledge of or chance to review the filings. And here
it has happened YET AGAIN, with this interestingly same dated as my last filing
entered on the record (May 25th 2023) Ruling by Free Range Deputy Clerk Lisa




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Ferrara, clearly once again before any assigned Judges Panel could see my filing:




Ferrara claims there is no relief requested, which is Bogus; the relief is requested in
the claim itself that I demanded this case/claim that was FRAUDULENTLY
DENIED AND CLOSED be reopened.


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Here is more Supporting Proof of Free Range Clerks FRAUD and TREASON in
the 5th Circuit BY YET ANOTHER CORRUPT 5TH CIRCUIT COURT CLERK
Disclosed via a NON-VIRUS LINK:
https://lawsintexas.com/a-fifth-circuit-clerk-corruptly-impersonating-appellants-induces-finality-of-appeal/


AND, There’s This Claim Of The Legal System Being “Corrupt Beyond Recognition” From
Your Own Former Chief Judge Edith Jones Of The 5th Circuit via a NON-VIRUS LINK:
https://republicbroadcasting.org/news/american-legal-system-is-corrupt-beyond-recognition/




Due to ALL of what I have experienced this past near DECADE throughout Every Level of the
Corrupt to the Core Courts I have been through in Texas since the very beginning of my Case,
ALL of the BLATANT FRAUD, COLLUSION BY PROTECTING THE

GLOBAL BIG BUSINESS MONEY LAUNDERING RACKETEERS
(DEFENDANTS), TREASON, WEAPONIZED COURT EVIDENCE &
EXHIBITS STASI CENSORSHIP COURT STRIPPING, led me to File an
Intervention in this One of the Largest Cases In History:




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Here is the Updated Statement of Facts NON-VIRUS LINK In the
CENSORSHIP case No. 3:22-CV-01213 that includes the link to THIS FILING:
https://acrobat.adobe.com/link/review?uri=urn:aaid:scds:US:0bded2f8-e461-4cd0-
8a57-0f5dad710997




Censorship is not just happening on Social Media Platforms, it is taking place in
our Courts to prevent cases like mine from being seen by the public and won! I
have Filed as an Intervenor into this Historical Case ALL of what my experiences
have been throughout ALL of the Corrupt To The Core Courts so All Eyes Can See
just how Dirty TREASONOUS and WEAPONIZED the United States Courts
Truly have become; I have Filed a copy of “THIS” OBJECTION / Filing #5 into
that case as well! MANY MANY People GLOBALLY Are Keeping an eye on
and Closely Following Both of these Cases! The TRUTH always comes out in
The End! Like this Breaking News Truth here:
https://www.europarl.europa.eu/cmsdata/161094/7%20-%2001%20EPRS_Underst
anding%20money%20laundering%20through%20real%20estate%20transactions.p
df

The same operation as the Defendants in my case that are clearly being Protected!

BlackRock, State Street, Vanguard finances all the Judges Pensions,
Aspire / Texas Lending and the US Courts and Government. The Judges in
this matter are financed by the Investors that finance Kevin and Katy Miller
.... all the same Financial Machine. https://stopworldcontrol.com/monopoly/




Which side of History do you choose to be on!?

                                                                                    21
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RE-OPEN MY CASE IMMEDIATELY!!!! I WANT MY
PRAYER/RELIEF THAT IS CLEARLY STATED IN MY
CLAIM!!!!



Respectfully Submitted,

/s/ Kimberly D. Hogan (Accepted as a LEGAL “ELECTRONIC SIGNATURE”!)

Kimberly D. Hogan

900 Discovery Blvd. #13102

Cedar Park, Texas 78613

kdhogan@ymail.com

(303) 246-1587

                                June 5th, 2023




                                                                         22
